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 5

 6 Attorneys for Plaintiff

 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                   CASE NO. 1:14-CR-00162-AWI-BAM
12                                         Plaintiff,            STIPULATION TO VACATE STATUS
                                                                 HEARING AND SET FOR CHANGE
13   v.                                                          OF PLEA HEARING; EXCLUDABLE
                                                                 TIME PERIODS UNDER SPEEDY
14   BRENDA RUIZ TOVAR,                                          TRIAL ACT; FINDINGS AND ORDER
15                                         Defendant,
16

17
               Plaintiff United States of America, by and through its counsel of record BENJAMIN B.
18
     WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and
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     defendant by and through his counsel of record, MARINA GONZALES, hereby stipulate as follows:
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               1.        By previous order, this matter was set for status conference hearing September 28,
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     2015 at 1:00 p.m. before the Hon. Barbara A. McAuliffe;
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               2.        By this stipulation, the parties move to vacate the status hearing and set the matter for
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     a change of plea hearing before the Hon. Anthony W. Ishii on October 5, 2015 at 10:00 a.m., or at a
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     time convenient to the court, and to exclude time between September 28, 2015 and October 5, 2015
25
     under 18 U.S.C. § 3161(h)(1)(E) and (h)(7)(A) and (B)(iv).
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               3.        The parties agree and stipulate, and request that the Court find the following:
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                         a.       The defendant has signed a plea agreement;
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                                                             1
29        Tovar Stipulation and Proposed Order

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 1                     b.       Additional time is needed for the entry of the plea and finalizing all

 2           documents related to the entry of the plea;

 3                     c.       The parties have agreed to the date of October 5, 2015 at 10:00 a.m. for the

 4           entry of the plea;

 5                     d.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

 6           3161, et seq., within which trial must commence, the time period of September 28, 2015 to

 7           October 5, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(1)(E) and

 8           (h)(7)(A) and (B)(iv) because the ends of justice is served by granting the continuance and

 9           outweigh the best interests of the public and the defendant in a speedy trial, assures

10           continuity of counsel, and gives the defense and government a reasonable time for effective

11           preparation exercising due diligence.

12           4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

13 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

14 a trial must commence.

15           IT IS SO STIPULATED.

16 DATED: September 4, 2015                                           /s/ Laurel J. Montoya
                                                                      LAUREL J. MONTOYA
17                                                                    Assistant United States Attorney
18 DATED: September 4, 2015                                           /s/ Marina Gonzales
                                                                      MARINA GONZALES
19                                                                    Attorney for Defendant B. Tovar
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                                                       ORDER
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             IT IS SO FOUND AND ORDERED that the STATUS CONFERENCE HEARING is
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     vacated and the change of plea hearing is set for October 5, 2015 at 10:00 a.m. and time is excluded
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     pursuant to 18 U.S.C. § 3161(h)(1)(E) and (h)(7)(A) and (B)(iv).
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     IT IS SO ORDERED.
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     Dated: September 4, 2015
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                                                      SENIOR DISTRICT JUDGE
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29      Tovar Stipulation and Proposed Order

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